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                       Exhibit A
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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK


             SECURITIES AND EXCHANGE COMMISSION,

                                              Plaintiff,

                              v.                                                    No. 20 CV 10832 (AT) (SN)

             RIPPLE LABS INC., BRADLEY GARLINGHOUSE,
             and CHRISTIAN A. LARSEN,

                                              Defendants.


                                   DECLARATION OF CANAAN E. HIMMELBAUM

            I, Canaan E. Himmelbaum, declare and state as follows pursuant to 28 U.S.C. § 1746:

                1. I am currently employed as Director of Global Business Development at Consilio LLC

                    (“Consilio”), an e-discovery and managed review provider. I have been employed with

                    Consilio or its subsidiaries/affiliates for 9 years and have a total of 12 years of experience

                    in the e-discovery industry. Consilio has been engaged by Debevoise & Plimpton LLP

                    and Ripple Labs Inc. (“Ripple”) to collect, process, host, review, and produce discovery

                    in connection with the investigation by the U.S. Securities and Exchange Commission

                    (“SEC”) with respect to Ripple (“Investigation”), and the captioned matter (“Litigation”).

                    I have personal knowledge of the facts set forth herein and, if called as a witness, could

                    testify thereto.

            Scale of Overall Document Collection and Production

                2. As of the date of this declaration, Consilio has collected 11,725,158 documents in total

                    on behalf of Ripple in connection with discovery requests issued during the Investigation

                    and Litigation. These documents and communications have included e-mail

                    communications, Google Drive documents, and Slack messages, among other
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                    electronically stored information. After deduplication and after Ripple applied search

                    terms to this collection, Ripple has reviewed a total of 300,915 documents for

                    responsiveness as of the date of this declaration.

                3. As of the date of this declaration, Consilio has prepared productions to the SEC of

                    documents and communications on behalf of Ripple totaling 167,312 documents and

                    1,043,987 pages in connection with the Investigation and Litigation.

                4. As of the date of this declaration, the total cost of providing e-discovery services to

                    Ripple during the Investigation and Litigation has totaled approximately $826,000 and

                    involved 9.6 terabytes of data.

            Challenges Associated with Slack Discovery

                5. Slack is an instant messaging platform that was released in 2013 and was widely

                    considered within the e-discovery services provider industry as a “black box” in terms of

                    its design and functionality. Slack presented challenges for e-discovery vendors in terms

                    of the need to develop applications to efficiently obtain data from the platform for

                    processing, review, and production. While internal development, licensing options and

                    third party tools have resulted in some progress towards the more effective collection of

                    Slack data in recent years, many of the challenges and burdens remain.

                6. Depending on the usage of Slack within an organization, the volumes of Slack data

                    within an organization’s platform can be immense. It is not unusual for a collection of

                    Slack data to amount to hundreds of gigabytes or even terabytes of data volume. The

                    larger volumes directly affect costs for an organization in relation to collection,

                    processing, searching, and hosting the data.




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                7. Slack also allows an organization or user to build in a multitude of customizations and

                    automation into its platform. These customizations in combination with the almost

                    limitless number of channels, private channels and direct messaging within the single

                    platform and media-saturated discussion, adds greatly to the complexity and challenges

                    of exporting data from Slack. Due to the dynamic nature of the platform, there are

                    additional challenges to collecting and producing attachments, shared files and linked

                    files that are stored within the Slack environment or linked to data repositories outside of

                    the organization’s Slack environment.

                8. Lastly, Slack exports are produced in JSON format, which is a machine-readable data

                    format that is not conducive to human review. For this reason, Slack exports often

                    require a separate conversion step that helps to organize the data in a more manageable

                    format for ingestion into e-discovery hosting and review platforms. The conversion

                    process can be very time intensive due to the volumes and complexities of the Slack

                    exports and will add to the overall cost burden to the client in terms of time and money.

            Ripple’s Slack Collection To Date

                9. Consilio has collected on behalf of Ripple approximately 115,277 documents from Slack

                    private channels for all 33 custodians. Slack private channels are dedicated spaces within

                    Slack accessible only to Slack users invited to participate in the channel. Initially,

                    Consilio did not collect Slack direct messages (“DMs”) and multi-party instant messages

                    (“MPIMs”) due to an inadvertent collection error. The error was discovered on July 25,

                    2021. Slack DMs are conversations between up to three people that occur in their own

                    private sessions in Slack, whereas MPIMs are group conversations between three or more

                    people that also occur in private sessions.



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                10. As of the date of this declaration, Consilio has collected and processed on behalf of

                    Ripple 3,226,656 documents containing Slack DMs and MPIMs sent to or from the

                    following custodians: Brad Garlinghouse, Chris Larsen, Ethan Beard, Antoinette

                    O’Gorman, Ron Will, Asheesh Birla, Ryan Zagone, Dinuka Samarasinghe, Monica Long,

                    Miguel Vias, and David Schwartz. The collection and processing of the Slack DMs and

                    MPIMs for these custodians cost approximately $143,039 and amounted to 6.5 terabytes

                    of data.

                11. It took approximately 3 weeks to complete the collection and processing of Slack DMs

                    and MPIMs described in Paragraph 10.

            Burden and Cost of the SEC’s Slack Proposal

                12. While it is not possible to know for certain how much it will cost to collect and process

                    Slack data before the collection and processing is complete, based on the costs of

                    collecting the Slack DMs and MPIMs for the custodians listed in Paragraph 10, and my

                    own personal experience with and knowledge of Slack collection, I estimate that

                    collecting and processing Slack DMs and MPIMs for the search custodians proposed by

                    the SEC for which DMs and MPIMs have not already been collected could cost as much

                    as $200,000. As for Slack public channel data for the 22 custodians proposed by the

                    SEC, I estimate that collecting and processing such data could cost as much as $750,000.

                13. While it is not possible to know for certain how long it will take to collect and process

                    Slack data before the collection and processing is complete, based on the amount of time

                    it took to collect and process other Slack data in this matter, and my own personal

                    experience with and knowledge of Slack collection, I estimate that it would take




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                    approximately 12-15 weeks to complete the collection and processing of Slack DMs,

                    MPIMs, and public channel messages as described in Paragraph 12.



                    I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct and that this Declaration was executed on August 16, 2021 in

            Bluffton, South Carolina.



                                                                         By:
                                                                               Canaan E. Himmelbaum




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